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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

 In Re: Oil Spill by the Oil Rig                 *        MDL No. 2179
        “Deepwater Horizon” in the Gulf
                                                 *
        of Mexico, on April 20, 2010                      SECTION: J
                                                 *
                                                 *        JUDGE BARBIER
 This Document Relates to the Following
                                                 *
 Cases in Pleading Bundle B3:                             MAG. JUDGE WILKINSON
                                                 *
 12-02715                                        *
                                                 *

                      BP’S STATEMENT REGARDING HANK J.
                   KIFF V. BP AMERICAN PRODUCTION COMPANY

         Pursuant to the Court’s September 3, 2019 Order (Rec. Doc. 26000), BP America

Production Co. and BP Exploration & Production Inc. (together, “BP”) respectfully submit the

following statement regarding Hank J. Kiff v. BP America Production Company (No. 12-02715),

which the Court has severed and deconsolidated from MDL 2179. BP consents to trial in the

Eastern District of Louisiana. Plaintiff Hank J. Kiff requests remand to the Southern District of

Texas.
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                               Respectfully submitted,

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                               BP Exploration & Production Inc.




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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing BP’s Statement Regarding Hank J. Kiff v.

BP America Production Company has been served on All Counsel by electronically uploading

the same to File & ServeXpress in accordance with Pretrial Order No. 12, as amended, and that

the foregoing was electronically filed with the Clerk of Court of the United States District Court

for the Eastern District of Louisiana by using the CM/ECF System, which will send a notice of

electronic filing in accordance with the procedures established in MDL 2179, on this 10th day of

September 2019.



                                                    /s/ Don K. Haycraft
                                                    Don K. Haycraft




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